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                          EXHIBIT A
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                                                                                                 US009 167329B2


 (12) United States Patent                                              (10) Patent No.:                     US 9,167,329 B2
        Honeycutt                                                       (45) Date of Patent:                          Oct. 20, 2015
 (54) MAGNETIC EARPHONES HOLDER                                    (56)                      References Cited
 (71) Applicant: Snik LLC, Berkeley, CA (US)                                           U.S. PATENT DOCUMENTS
 (72) Inventor: Rob Honeycutt, Berkeley, CA (US)                          3.392.729 A             7, 1968 Lenoir
 (73) Assignee: SNIK LLC, Berkeley, CA (US)                               38. A                   S.E.     han
 (*) Notice:        Subject to any disclaimer, the term of this            - Iw                              .
                    patent is extended or adjusted under 35                                         (Continued)
                    U.S.C. 154(b) by 45 days.                                     FOREIGN PATENT DOCUMENTS
 (21) Appl. No.: 13/734,871
                                                                   CN                       1338231 A       3, 2002
 (22) Filed:        Jan. 4, 2013                                   CN                       1890855. A      1, 2007
 (65)               Prior Publication Data                                                      (Continued)
        US 2013/0216085A1      Aug. 22, 2013                                                OTHER PUBLICATIONS
                                                                   Declaration of Rob Honeycutt, executed on Oct. 7, 2010.
             Related U.S. Application Data                         Primary Examiner — Curtis Kuntz
 (60) Provisional application No. 61/601,722, filed on Feb.        Assistant Examiner — Ryan Robinson
        22, 2012, provisional application No. 61/671,572,          (74) Attorney, Agent, or Firm — Haverstock & Owens LLP
        filed on Jul. 13, 2012, provisional application No.
      61/712,136, filed on Oct. 10, 2012.                          (57)                    ABSTRACT
 (51) Int. Cl.                                                     An earphones holder is used to affix a headset to clothing
      H04R 25/00             (2006.01)                             and/or other items. The earphones holder comprises a magnet
        H04R L/10                (2006.01)                         which removably couples with a magnetically attractable por
        H04R I/02                (2006.01)                         tion of a set of earphones. In SO               embodiments, the ear
 (52) U.S. Cl.                                                     phones holder further comprises an electronic device control
        CPC .............. HotR H04R
                    (2013.01);  1/10; 1/1016
                                       2030),     HuR H04R
                                             (2013.01); 1.02        ETNS'''
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                 1/1041 (2013.01); H04R 2201/023 (2013.01)
 (58) Field of Classification Search
                                                                   E.   act1Vat1On t      N      E.        i SEE Ole
                                                                   ased upon a coupling Status of une earbuds w1
                                                                                                                  CW1CO
        CPC ........ H04R 1/105; H04R 1/10; H04R5/0335;            more magnetically attractable Surfaces of the earphones
              H04R 1/1066; H04R 2460/17; H04R 1/1033;              holder body. In some embodiments, the electronic device
             H04R 2201/023; H04R 1/1041: H04M 1/6058:              controller controls the operation of an electronic device. The
                                                HO4M 1/6066        controller is configured to send a signal to an electronic
        USPC ................. 381/378,374,379, 311,334, 364;      device activation circuit which operates the electronic in a
                                                      379/.441     manner dependent upon a signal from the holder body.
        See application file for complete search history.                         55 Claims, 22 Drawing Sheets



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                                     Fig. 1
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                               Fig. 4
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                                      901                    920
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             "         Fig. 10A




                       Fig. 10B
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                                            Fig.11
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                      y                                                           1202

                                          1203              1205



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               1215


                      Fig. 12A                                       Fig. 12B
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      Earbud Engagement              Electronic Device                Electric Device Activation
      Detector                       Controller                       Circuit



                                                                    1355




                                      Sending a signal to
                                 operate the electronic device 1N      1406
                                 basca upon the cngagement
                                     status of the earbud



                                           CEnd) 1 Nu 1408
                                          Fig. 14
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                        1900                            1- 1901




                           1903




                1985                                                1- 1905




    1965




                                                                       1955



                                  Fig. 19A
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                                      1903

                                Fig. 19E
                                                                    1- 1901



                             -1909                                 1911


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               Fig. 19B                            Fig. 19C
                                      1903
                                                      1- 1901




                                  1915



                               Fig. 19D
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                                      Fig. 22
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            2300
                                                            2340
     2330
             Earbud engagement
                   detector
                                              Electronic            Electronic Device
                                           Device Controller        Activation Circuit
     2360
             Touch sensor
               detector




                                      Sending a signal to          24
                                  operate an electronic device 1Nu 2406
                                  based upon the action status
                                      of the touch sensor
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                                                       US 9,167,329 B2
                                1.                                                                     2
           MAGNETC EARPHONES HOLDER                                      attractable surfaces of the earphones holder body. In further
                                                                         embodiments, the electronic device controller which controls
                 RELATED APPLICATIONS                                    the operation of an electronic device. Particularly, the con
                                                                         troller is configured to send a signal to an electronic device
    This Patent Application claims priority under 35 U.S.C.         5    activation circuit which operates the electronic in a manner
  119(e) to the U.S. provisional patent application, Application         dependent upon a signal from the holder body.
  No. 61/601,722, filed on Feb. 22, 2012, and entitled “MAG                 In one aspect, a system for holding a set of earphones
  NETIC EARPHONES HOLDER,” the U.S. provisional                          comprises a holder body comprising one or more magnets
  patent application, Application No. 61/671,572, filed on Jul.          and a set of earphones comprising a magnetically attractable
  13, 2012, and entitled “MAGNETIC EARPHONES                        10   Surface for removably coupling with the one or more mag
  HOLDER. and the U.S. provisional patent application,                   nets. In some embodiments, the holder body is a closure
  Application No. 61/712,136, filed on Oct. 10, 2012, and                mechanism that releasably couples a first portion of an article
  entitled “MAGNETIC EARPHONES HOLDER. The U.S.                          to a second portion of the article. In further embodiments, the
  provisional patent application, Application No. 61/601.722,            holder body is one or more of Snaps, a button, a releasable
  filed on Feb. 22, 2012, and entitled “MAGNETIC EAR                15   clip, Zipper, and a hook and loop fastening system. In still
 PHONES HOLDER,” the U.S. provisional patent applica                     further embodiments, the holder body is an accessory item
 tion, Application No. 61/671,572, filed on Jul. 13, 2012, and           comprising one or more of a necklace, a broach, a pair of
  entitled “MAGNETIC EARPHONES HOLDER, and the                           earrings, a bracelet and a Sunglass lanyard. In some embodi
  U.S. provisional patent application, Application No. 61/712,           ments, the magnetically attractable Surface is non-removable.
  136, filed on Oct. 10, 2012, and entitled “MAGNETIC EAR                In further embodiments, the magnetically attractable surface
  PHONES HOLDER are all also hereby incorporated by                      is removable. In some embodiments, the system further com
  reference                                                              prises one or more additional magnets. In some embodi
                                                                         ments, the system further comprises one or more grooves for
                 FIELD OF THE INVENTION                                  releasably holding a cord of the set of earphones. In some
                                                                    25   embodiments, the magnetically attractable surface is attached
     The present invention relates to earphone holders. More             to the cord of the earphones.
  particularly, the present invention relates to a magnetic ear             In another aspect, an earphones holder comprises a holder
  phone holder used to hold a set of earphones.                          body and one or more magnetically attractable Surfaces. In
                                                                         Some embodiments, the holder body comprises a Zipper
              BACKGROUND OF THE INVENTION                           30   puller, a Snap fastener, an adornment, a buckle attachment, or
                                                                         an item of jewelry. In some embodiments, the one or more
    Headset cords transmit signals from a source device, such            magnetically attractable surfaces comprises one or more
 as a music player or cellphone, to earphones being worn by a            magnets. In further embodiments, the one or more magneti
 user. Although these cords are typically flexible and can be            cally attractable Surfaces are configured for removably cou
 maneuvered out of the way by the user, such manipulation by        35   pling with a metal part of an earbud. In some embodiments,
 the user can be inconvenient, and often inefficient, as the             the one or more magnetically Surfaces are built into or embed
  cords regularly find their way backinto an undesired location.         ded within the body. In some embodiments, the holder body
  Additionally, if not secured when not being used the ear               comprises one or more grooves for releasably holding a cord
  phones often hang loose in an undesired and inconvenient               of a set of earphones.
  location where they may be Snagged or become tangled.             40      In a further aspect, a method of securing a set of earphones
  Further, earphones are often moved back and forth from the             comprises coupling a magnetically attractable Surface to a set
  ears of a user where they are transmitting a signal from the           of earphones and coupling the magnetically attractable Sur
  Source device to the stored position as the user completes             face to a magnet coupled to an additional article in order to
 tasks and moves around.                                                 secure the earphones. In some embodiments, the additional
                                                                    45   article comprises a Zipper puller, a Snap fastener, an adorn
               SUMMARY OF THE INVENTION                                  ment, a buckle attachment, or an item of jewelry. In further
                                                                         embodiments, the additional article is an accessory item com
    The present application is directed toward an earphones              prising one or more of a necklace, a broach, a pair of earrings,
 holder used to affix aheadset to clothing and/or other items.           a bracelet and a Sunglass lanyard. In some embodiments, the
 Any set of earphones is able to be affixed, including a headset    50   one or more magnetically attractable surfaces comprises one
 for an iPod, iPhone, or any other similar cellphone or MP3 or           or more magnets. In some embodiments, the one or more
 music player. The earphones holder comprises a magnet                   magnetically surfaces are built into or embedded within the
 which removably couples with a magnetically attractable por             additional article. In further embodiments, the additional
 tion of a set of earphones oran added magnet feature built into         article comprises one or more grooves for releasably holding
 or onto the earbud or cord or any feature of the earbud or cord.   55   a cord of a set of earphones.
 The magnet is able to be designed into or molded into a                    An earphones holder comprises a holder body, one or more
 variety of items, including the handle of a Zipper, a buckle,           magnetically attractable surfaces attached to the holder body,
 and an item that can be sewn to, pinned to, or clipped to               an earbud engagement detector and an electronic device con
 clothing, bags and other items. In some embodiments, the                troller for controlling an electronic device coupled to the
 earphones holder body further comprises an electronic device       60   earphones. In some embodiments, a magnet of the earphones
 controller which controls the operation of an electronic                removably couples with the one or more magnetically
 device. The controller is configured to send a signal to an             attractable Surfaces. In some embodiments, the magnetically
  electronic device activation circuit which activates the elec          attractable surface comprises one or more magnets and
 tronic device when the earphones are decoupled from the one             removably couples with a metal portion of the earphones. In
 or more magnetically attractable Surfaces of the earphones         65   further embodiments, the electronic device controller is con
 holder body and deactivates the electronic device when the              figured to activate the electronic device when the earphones
 earphones are coupled with the one or more magnetically                 are decoupled from the holder body. In still further embodi
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                                                       US 9,167,329 B2
                                3                                                                       4
 ments, the electronic device controller is configured to deac           In some embodiments, the touch sensor detector sends a
 tivate the electronic device when the earphones are coupled             signal to the electronic device to activate or deactivate the
 with the holder body. In some embodiments, the earphones                electronic device.
 holder body comprises a mechanism for attaching the ear                    In another aspect, a earphones holder for communicating
 phones holder to an additional article. In some of these           5    with an electronic device comprises an earphones holder
 embodiments, the mechanism is a clip. In some embodi                    body comprising a touch sensor and one or more magneti
 ments, the earphones holder body comprises a Zipper puller,             cally attractable surfaces for removably coupling with a set of
 a snap fastener, an adornment, a buckle attachment, oran item           earphones, wherein the touch sensor controls an electronic
 of jewelry. In some embodiments, the holder body comprises              device coupled to the earphones holder. In some embodi
 one or more recesses for removably coupling with a body of              ments, the set of earphones is coupled to an earphones jack of
 the earphones. In some embodiments, the earphones holder                the earphones holder. In some embodiments, the electronic
 further comprises a groove for releasably receiving a cord of           device is wirelessly coupled to the earphones holder. In fur
 the set of headphones.                                                  ther embodiments, the earphones holder comprises an earbud
    In another aspect, a system for holding a set of earphones      15   engagement detector. In some embodiments, the touch sensor
 comprises an earphones holder body comprising a groove for              is tapped, double-tapped, or Swiped in order to control the
 holding a headset cord, one or more magnetically attractable            electronic device. In some embodiments, the earphones
 Surfaces, an electronic device controller, an earbud engage             holder further comprises an attachment mechanism for
 ment detector and a set of earphones comprising one or more             attaching to an additional article. In some of these embodi
 magnets coupled to the earphones. In some embodiments, the              ments, the attachment mechanism is a clip.
 one or more magnetically attractable surfaces comprise one                 In another aspect, a method of operating an electronic
 or more magnets. In some embodiments, the electronic device             device comprises touching a touch sensor located on an ear
 controller is configured to activate and/or deactivate an elec          phones holder body comprising one or more magnets for
 tronic device by sending a signal to an electronic device               removably coupling with a set of earphones, sending a signal
  activation circuit. In some embodiments, the electronic           25   to a touch sensor detector and sending a signal to an electronic
  device controller sends a signal to the electronic device acti         device based upon the signal sent to the touch sensor detector.
  vation circuit to activate the electronic device when the ear          In some embodiments, the touch sensor is tapped, double
  phones are decoupled from the one or more magnetically                 tapped, or Swiped. In some embodiments, the touch sensor
  attractable surfaces of the earphones holder body. In further          detector receives a signal from the touch sensor and sends a
  embodiments, the electronic device controller sends a signal      30   signal to an electronic device controller. In further embodi
 to the electronic device activation circuit to deactivate the           ments, the electronic device is operated by touching the touch
  electronic device when the earphones are coupled with the              SSO.
  one or more magnetically attractable Surfaces of the ear
  phones holder body. In some embodiments, the holder body                       BRIEF DESCRIPTION OF THE DRAWINGS
  further comprises a mechanism for attaching to an additional      35
  article. In some of these embodiments, the mechanism is a                FIG. 1 illustrates an embodiment of an earphones holder
 clip. In some embodiments, the holder body comprises a                  having a magnet built into the body of a Zipper puller in
 Zipper puller, a Snap fastener, an adornment, a buckle attach           accordance with the principles of the present invention.
 ment, or an item of jewelry. In further embodiments, the                  FIGS. 2A-B illustrate an embodiment of an earphones
 holder body comprises an accessory item comprising one or          40   holder having a magnet built into the Surface of a plastic shirt
 more of a necklace, a broach, a pair of earrings, a bracelet and        Snap in accordance with the principles of the present inven
 a Sunglass lanyard. In some embodiments, the holder body                tion.
 further comprises one or more recesses for removably cou                  FIGS. 3A-3D illustrate an embodiment of an earphones
 pling with a body of the earphones.                                     holder having a magnet built into a body of an adornment in
    In a further aspect, a method of operating an electronic        45   accordance with some embodiments.
 device comprises detecting an engagement status of an ear                 FIG. 4 illustrates an embodiment of an earphones holder
 bud, sending a signal to an electronic device based upon the            having a magnet built into a Zipper puller in accordance with
 engagement status of the earbud and operating the electronic            Some embodiments.
 device based upon the engagement status of the earbud. In                  FIGS.5A and 5B illustrate an embodiment of an earphones
 some embodiments, the electronic device is activated. In fur       50   holder having a magnet built into a body coupled with a
 ther embodiments, the electronic device is deactivated.                 Sunglass lanyard in accordance with some embodiments.
    A system for holding a set of earphones comprises a holder              FIGS. 5C-5E illustrate an embodiment of an earphones
 body, one or more magnetically attractable surfaces attached            holder having a magnet built into a body coupled with a pair
 to the holder body for removably coupling with a set of                 of Sunglasses in accordance with some embodiments.
 earphones, a touch sensor, a touch sensor detector and an          55      FIGS.5F and 5G illustrate an embodiment of an earphones
 electronic device controller for controlling an electronic              holder having a magnet built into a body of a pair of Sun
 device. In some embodiments, the system wirelessly commu                glasses in accordance with some embodiments.
  nicates with the electronic device. In some embodiments, the              FIGS. 6A and 6B illustrate an embodiment of an earphones
  system further comprising an earbud engagement detector. In            holder having a magnet built onto the front face of a side
  Some embodiments, the touch sensor detector receives a sig        60   Squeeze buckle used on bags and packs inaccordance with the
  nal from the touch sensor and sends a signal to the electronic         principles of the present invention.
  device controller. In some of these embodiments, the touch                FIGS. 6C and 6D illustrate an embodiment of an earphones
 sensor detector sends a signal to the electronic device con             holder having a magnet built into a releasable clip coupled to
 troller that the touch sensor has been tapped, double-tapped,           a sports helmet in accordance with Some embodiments.
 or swiped. Particularly, the electronic device controller sends    65      FIGS. 7A and 7B illustrate an embodiment of an earphones
 a signal to an electronic device to operate the electronic              holder having a magnet built into a body in accordance with
 device based upon the signal from the touch sensor detector.            Some embodiments.
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                              5                                                                           6
   FIGS. 8A and 8Billustrate an embodiment of an earphones               act as a closure mechanism capable of releasably coupling a
 holder having a magnet built into a piece of jewelry in accor           first portion of the bag or item of clothing to a second portion
  dance with Some embodiments.                                           of the bag or article of clothing. For example, in some
   FIG. 9 illustrates an embodiment of an earphones holder               embodiments, the body 115 comprises a channel (not shown)
 having a magnet built into an identifying Surface in accor         5    formed in opposing sidewalls in order to receive and releas
  dance with Some embodiments.                                           ably couple together Zipper tracks of the bag or item of cloth
   FIG.10A illustrates an embodiment of an earphones holder              ing. In some embodiments, a puller 140 is coupled to the body
 having a magnet and a groove built into a Zipper puller in              115 in order to facilitate the translation of the body 115 along
  accordance with Some embodiments.                                      the portions of the bag or item of clothing to which it is
     FIG. 10B shows a close-up view of a magnetically               10   attached.
  attractable surface for removably coupling with a pair of                 The magnet 110 is molded or otherwise built into the body
  earphones in accordance with some embodiments.                         115. In some embodiments, the magnet 110 is encased or
     FIG. 11 illustrates a magnetic earphones and cord holding           embedded within a plastic over mold which surrounds the
  system in accordance with some embodiments.                            puller 140. In some embodiments, one or more additional
     FIGS. 12A and 12B illustrate a magnetic earphones and          15   magnets are coupled with the body 115. The magnet 110 is
  cord holding system in accordance with some embodiments.               configured to receive and releasably secure a set of earphones
     FIG. 13 illustrates a schematic view showing the compo              175. As shown in FIG. 1, in some embodiments, the magnet
  nents of a magnetic earphones and cord holding system in               110 removably couples with the magnetically attractable
  accordance with Some embodiments.                                      parts of an earbud of the earphones 175. In some embodi
    FIG. 14 illustrates a method of activating and/or deactivat          ments, the earphones 175 and/or the cord 165 comprises a
  ing an electronic device in accordance with some embodi                magnet or magnetically attractable Surface, which removably
  mentS.                                                                 couples with the magnet 110. The earphones holder 100 holds
    FIG. 15 illustrates a magnetic earphones holding system in           a set of earphones 175 connected to the user's Ipod or other
  accordance with Some embodiments.                                      electronic device.
    FIG.16 illustrates a magnetic earphones holding system in       25      FIGS. 2A-B illustrate an embodiment of an earphones
  accordance with Some embodiments.                                      holder 200 with a magnet molded into the surface of a plastic
    FIG. 17 illustrates a magnetic earphones holding system in           or metal Snap fastener in accordance with further embodi
  accordance with Some embodiments.                                      ments. It is contemplated that the Snap fastener is capable of
    FIG. 18 illustrates a magnetic earphones holding system in           being used on a shirt 260, as shown in FIG. 2B, or on another
  accordance with Some embodiments.                                 30   item of clothing or a bag.
    FIGS. 19A-19E illustrate a magnetic earphones holding                   The shirt snap comprises a male snap 235 and a female
  system in accordance with some embodiments.                            snap 245 that are configured to releasably couple to one
    FIG.20 illustrates a magnetic earphones holding system in            another. For example, in some embodiments, the male Snap
  accordance with Some embodiments.                                      235 comprises a stud 240 that is configured to fit securely into
    FIG. 21 illustrates a block diagram of a magnetic ear           35   an aperture in the female snap 245. The perimeter of the
  phones holding system in accordance with some embodi                   aperture is defined by the inner circumference of the socket
  mentS.                                                                 lip 250 and the base 255 of the female snap 245. In some
    FIG.22 illustrates a magnetic earphones holding system in            embodiments, the socket lip 250 extends farther towards the
  accordance with Some embodiments.                                      aperture than the base 255, and the end of the stud 240 has a
    FIG. 23 illustrates a schematic view showing the compo          40   larger diameter than the base of the stud 240. In this configu
  nents of a magnetic earphones and cord holding system in               ration, the end of the stud 240, when inserted into the aperture,
  accordance with Some embodiments.                                      Snaps into place, and is secured from accidental removal by
    FIG. 24 illustrates a method of activating and/or deactivat          the socket lip 250.
  ing an electronic device in accordance with some embodi                   The shirt Snap comprises a magnet 210. In some embodi
  mentS.                                                            45   ments, the magnet 210 is embedded within the male snap 235
                                                                         or the female snap 235. In other embodiments, the magnet
     DETAILED DESCRIPTION OF THE INVENTION                               210 is a distinct component that is attached to the male Snap
                                                                         235 or the female snap 245. For example, FIG. 2A shows an
    The description below concerns several embodiments of                exploded view of the headset holder 200 with the magnet 210
 the invention. The discussion references the illustrated pre       50   separated from the male snap 235. The magnet 210 comprises
 ferred embodiment. However, the scope of the present inven              a body 215 that fits securely into an aperture in the male snap
 tion is not limited to either the illustrated embodiment, nor is        235. In some embodiments, the magnet 210 (as a part of the
 it limited to those discussed, to the contrary, the scope should        Snap fastener) is configured to act as a closure mechanism
 be interpreted as broadly as possible based on the language of          capable of releasably coupling a first portion of an item of
 the Claims section of this document.                               55   clothing or a bag to a second portion of the article of clothing
    This disclosure provides several embodiments of the                  or bag.
 present invention. It is contemplated that any features from               The magnet 210 is molded or otherwise built into the body
 any embodiment can be combined with any features from any               215. The magnet 210 is configured to receive and releasably
 other embodiment. In this fashion, hybrid configurations of             secure a set of earphones. In some embodiments, the magnet
 the illustrated embodiments are well within the scope of the       60   210 removably couples with the magnetically attractable
 present invention.                                                      parts of the earphones 275 (FIG. 2B). In some embodiments,
    Referring now to FIG. 1, a first embodiment of an ear                the earphones 275 and/or the cord 265 comprises a magnet or
 phones holder 100 is depicted therein. The earphones holder             magnetically attractable surface, which removably couples
 100 comprises a magnet 110 embedded or molded into a body               with the magnet 210. FIG.2B shows the headset holder 200 in
 115 of a zipperpuller 150. The zipper puller 150 is configured     65   use as a shirt snap fastener on a user's shirt 260. The ear
 to be coupled to a bag or an item of clothing, such as a jacket         phones holder 200 holds a set of earphones 275 connected to
 or shirt. In some embodiments, the body 115 is configured to            the user's Ipod 270.
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    FIGS. 3A-D illustrate earphone holders 300 and 305 hav               However, as will be apparent to someone of ordinary skill in
  ing a magnet 310 molded into an adornment in accordance                the art, the magnet or magnetically attractable Surface 425 is
 with Some embodiments. In some embodiments, the adorn                   able to be fixedly or removably connected to the earphones
  ment is an ornamental accessory having an aesthetic charac             475 or the headset cord 465. As also shown in FIG.4, in some
 teristic unrelated to its functional structure, such as the star        embodiments, the earphones holder 400 comprises one or
 shape in FIGS. 3A-B and the moon shape in FIGS. 3C-D. The               more additional magnets 410'. In some embodiments, a user
 buttons and Zippers shown in the previous figures would not             is able to removably couple each side of the headset cord 465
 constitute an adornment since they do not have an aesthetic             or the earphones 475 with a corresponding magnet. Alterna
  characteristic that is unrelated to their functional structure.
                                                                         tively, in some embodiments, a user is able to couple both
 However, if they were modified to have a certain aesthetic         10
                                                                         sides of the headset cord 465 or earphones 475 with only one
 shape that was completely unrelated to their functionality,             of the magnets.
 then they could be considered an adornment.                                FIGS. 5A-5E illustrate an earphone holder 500 in accor
    The adornment comprises a body 315 that is configured to             dance with further embodiments. As shown in FIGS.5A and
 be releasably secured to a bag oran article of clothing, such as
 shirt 360. In some embodiments, the body 315 comprises a           15   5B, in some embodiments, the earphone holder 500 com
 pin 335 extending from its base. The pin 335 is configured to           prises a body 515 having a magnet 510 molded into it. The
 penetrate the bag or item of clothing. In some embodiments,             body 515 is configured to be coupled to a lanyard for sun or
 one or more flanges 340 are disposed proximate the end of the           prescription glasses. In some embodiments, the lanyard 570
 pin 335 to facilitate the attachment of the adornment to the            passes through an opening 580 within the body 515. How
 bag or article of clothing. In some embodiments, a clasp 345            ever, the body 515 is able to couple with the lanyard through
 having releases 350 is provided along with the adornment in             a clip or any other mechanism as known in the art. As shown
 order to provide a secure attachment of the adornment to the            in FIGS. 5A and 5B, each side of the lanyard comprises a
 bag or article of clothing.                                             body 515 of a headset cord holder 500. However, in some
    The magnet 310 is molded or otherwise built into the body            embodiments, the earphone holder 500 is only coupled to one
 315. The magnet 310 is configured to receive and releasably        25   side of the lanyard 570. In some embodiments, the body 515
 secure a set of earphones. In some embodiments, the magnet              of the earphone holder 500 comprises one or more of molded
 310 removably couples with the magnetically attractable                 plastic, hard plastic, foam and rubber. In some embodiments,
 parts of the earphones 375 (FIG. 3B). In some embodiments,              the body 510 of the headset cord holder comprises one or
 the earphones 375 and/or the cord 365 comprises a magnet or             more of wood, glass, and metal.
 magnetically attractable surface, which removably couples          30      As shown in FIGS.5C-5E, in some embodiments, the body
 with the magnet 310. FIG. 3A shows the headset holder 300               515 and the body 515" is configured to be removably coupled
 attached to a user's shirt360. The earphones holder 300 holds           with a glasses frame 501. In some embodiments, an opening
 a set of earphones 375 connected to the user's Ipod 370.                580 within the body 515 and the body 515" is slid onto an ear
    Although FIG. 3D illustrates the body using a pin for                piece 503 of the glasses frame 501. Accordingly, a user is able
 attachment, it is contemplated that the body can employ other      35   to slide the body 515' and the body 515" until a desired
 means for releasably securing itself to a bag or an article of          configuration along the ear piece 503 is found. As will be
 clothing. For example, in Some embodiments the body uti                 apparent to someone of ordinary skill in the art, the body 515
 lizes a magnetic attachment in accordance with the principles           and the body 515" is able to couple with the glasses frame 501
 of the present invention.                                               by any mechanism as known in the art. For example, in some
    FIG. 4 illustrates an embodiment of an earphones holder         40   embodiments, the body 515' and the body 515" couples with
 400 having a magnet molded into a body configured to be                 the glasses frame 501 by one or more of a hook and loop
 coupled to a zipper head in accordance with further embodi              fastening system and a clip. The glasses frame 501 is able to
  mentS.                                                                 comprise Sun and prescription glasses or a combination of the
    As shown in FIG. 4, the body 415 is coupled to the zipper            two. In some embodiments, the body 515 and the body 515"
 head 450. The earphones holder 400 comprises a puller 440          45   of the earphones holder comprises one or more of molded
 which is coupled to the body 415. As shown in FIG.4, in some            plastic, hard plastic, foam and rubber. In some embodiments,
 embodiments, the puller 440 is a cord which passes through              the body 515 and the body 515" of the earphones holder
 the center of the body 415. In some embodiments the puller              comprises one or more of wood, glass, and metal.
 440 is a cord which couples the body 415 with an opening                   As shown in FIG. 5D, in some embodiments, the magnet
 480. In some embodiments the body 415 comprises one or             50   510 is oriented vertically along the body 515'. Alternatively,
 more of wood, glass, and metal.                                         as shown within FIG. 5E, in some embodiments, the magnet
    The body 415 comprises a magnet 410. In some embodi                  510 is oriented horizontally along the body 515". In some
 ments, the magnet 410 is embedded within the body 415. In               embodiments, the body 515' and 515" comprises one or more
 other embodiments, the magnet 410 is a distinct component               additional magnets 510'.
 that is attached to the body 415. As shown within FIG. 4, the      55      FIGS. 5F and 5G show an earphone holder comprising a
 magnet 410 is molded or otherwise built into the body 415.              body and a magnet within the body that directly receives and
 The magnet 410 is configured to receive and releasably secure           releasably secures a headset cord. In some embodiments, the
 a set of earphones. In some embodiments, the magnet 410                 magnet 510 is built into the glasses frame 501.
 removably couples with the magnetically attractable parts of              As shown within FIGS. 5F and 5G, in some embodiments
 the earphones 475. In some embodiments, as shown in FIG.4,         60   the magnet 510 is built into the top of an earpiece 503 of the
 the earphones 475 also comprise a magnet or magnetically                glasses frame 501. Alternatively, in some embodiments, as
 attractable surface 425, which removably couples with the               shown in FIGS.5F and 5G, in some embodiments, the magnet
 magnet 410. In these embodiments, the magnet or magneti                 510 is built into a side of the earpiece 503 of the glasses frame
 cally attractable surface 425 is able to be a component of the          501. In some embodiments, the magnet 510 is oriented ver
 earphones 475 or the headset cord 465. In some embodi              65   tically along the earpiece503. Alternatively, in some embodi
 ments, the magnet or magnetically attractable Surface 425 is            ments, the magnet 510 is oriented horizontally along the ear
 slidable along the earphones 475 or the headset cord 465.               piece 503. Particularly, the magnet 510 is able to be located at
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 any position along the earpiece 503. In some embodiments,                  is able to removably couple each side of the headset cord or
 the glasses frame 501 comprises one or more additional mag                 the earphones with a corresponding magnet. Alternatively, in
  netS.                                                                     some embodiments, a user is able to couple both sides of the
    As further shown within FIGS. 5A-5G, the magnets are                    headset cord or earphones with only one of the magnets.
 configured to receive and releasably secure a set of earphones.              FIGS. 6C and 6D illustrate a headset cord holder 600 in
 In some embodiments, the magnet 510 removably couples                      accordance with yet further embodiments. As shown in FIGS.
 with the magnetically attractable parts of the earphones 575.              6C and 6D, the headset cord holder 600 comprises a body
 In some embodiments, as shown in FIG.5G, the earphones                     having a magnet 610 molded into the front face of a releasable
 575 also comprises a magnet or magnetically attractable Sur                clip or side squeeze buckle as described in relation to FIGS.
 face 525, which removably couples with the magnet 510. In             10   6A and 6B. The releasable clip is configured to be attached to
 these embodiments, the magnet or magnetically attractable                  a sports helmet.
 surface 525 is able to be a component of the earphones 575 or                 Each end of the releasable clip 615, 635 is coupled by a
 the headset cord 565. In some embodiments, the magnet or                   strap 645, 640 to a sports helmet. As shown in FIG. 6D, the
 magnetically attractable surface 525 is slidable along the                 releasable clip is coupled to a bicycle helmet 660. However,
 earphones 575 or the headset cord 565. However, as will be            15   the releasable clip is able to be coupled to any sports helmet
 apparent to someone of ordinary skill in the art, the magnet or            as known in the art. For example, in Some embodiments the
 magnetically attractable surface 525 is able to be fixedly                 releasable clip is coupled to one or more of a skiing helmet,
 connected to the earphones 575 or the headset cord 565. In                 bicycle helmet, motorcycle helment or other sports helment.
 Some embodiments, a user is able to removably couple each                     A magnet 610 is built or otherwise embedded within the
 side of the headset cord 565 or the earphones 575 with a                   releasable clip. The magnet 610 is configured to receive and
 corresponding magnet. Alternatively, in some embodiments,                  releasably secure a set of earphones. In some embodiments,
 a user is able to couple both sides of the headset cord 565 or             the magnet 610 removably couples with the magnetically
 earphones 575 with only one of the magnets.                                attractable parts of the earphones. In some embodiments, the
    FIGS. 6A-B illustrate one embodiment of an earphones                    earphones also comprises a magnet or magnetically
 holder 600 having a magnet molded onto the front face of a            25   attractable Surface, which removably couples with the mag
 side Squeeze buckle used on bags and packs in accordance                   net 610. The magnet 610 is configured to receive and releas
 with some embodiments. FIGS. 6A and 6B show a plan view                    ably secure a set of earphones. In some embodiments, the
 and a side view of the cord holder 600, respectively.                      magnet 610 removably couples with the magnetically
    The side Squeeze buckle comprises a female buckle end                   attractable parts of the earphones. In some embodiments, the
 615 coupled to a buckle strap or webbing 640 and a male               30   earphones also comprise a magnet or magnetically attractable
 buckle end 635 coupled to a buckle strap or webbing 645. The               surface, which removably couples with the magnet 610. In
 female buckle end 615 is configured to receive and releasably              these embodiments, the magnet or magnetically attractable
 hold the male buckle end 635. In some embodiments, either                  surface is able to be a component of the earphones or the
 the female buckle end 615 or the male buckle end 635 com                   headset cord. In some embodiments, the magnet or magneti
  prises a magnet 610. In some embodiments, the magnet 610             35   cally attractable Surface is slidable along the earphones or the
  protrudes from either the female buckle end 615, as seen in               headset cord. However, as will be apparent to someone of
  FIGS. 6A and 6B, or the male buckle end 635. In some                      ordinary skill in the art, the magnet or magnetically
  embodiments, the magnet 610 does not protrude from the rest               attractable surface is able to be fixedly connected to the ear
  of the buckle end, but rather is flush with the rest of the buckle        phones or the headset cord. In some embodiments, the ear
 end. Additionally, in Some embodiments, the magnet 610 is             40   phones holder 600 comprises one or more additional mag
 integrally formed with the buckle end, while in other embodi               nets. In some embodiments, a user is able removably couple
 ments, the body is a separate component that is attached to the            each side of the headset cord or the earphones with a corre
 buckle end. In some embodiments, the earphones holder 600                  sponding magnet. Alternatively, in some embodiments, a user
 is configured to act as a closure mechanism capable of releas              is able to couple both sides of the headset cord or earphones
 ably coupling a first strap, and any item to which the first strap    45   with only one of the magnets.
 is attached, to a second strap, and any item to which the                    FIGS. 7A and 7B illustrate a headset cord holder 700 in
 second strap is attached. For example, in some embodiments,                accordance with further embodiments.
 the magnet is part of a female buckle end 615 that is coupled                 As shown in FIGS. 7A and 7B, a body 715 comprising a
 to a first portion of a bag via a strap 640. The female buckle             magnet 710 is coupled to a sternum strap 720 of a backpack
  end 615 mates with a male buckle end 635. The male buckle            50   705. In some embodiments, the magnet 710 is coupled to an
  end 635 is coupled to a second portion of the bag via a strap             arm strap of a backpack 705. However, the body 715 is able to
  645.                                                                      couple to any portion of the backpack 705 as known in the art.
     The magnet 610 is configured to receive and releasably                 In some embodiments, the body 715 removably couples with
 secure a set of earphones. In some embodiments, the magnet                 the sternum strap 715 of the backpack 705. In some embodi
 610 removably couples with the magnetically attractable               55   ments, the body 715 removably couples with the sternum
 parts of the earphones. In some embodiments, the earphones                 strap 715 by one or more of a hook and loop fastening system
 also comprise a magnet or magnetically attractable Surface,                and snaps. However, the body 715 is able to removably couple
 which removably couples with the magnet 610. In these                      with the backpack 705 by any mechanism as known in the art.
 embodiments, the magnet or magnetically attractable Surface                In some embodiments, the body 715 is able to additionally
 is able to be a component of the earphones or the headset cord.       60   couple with one or more of a lumbarpack, a sports bag, and an
 In some embodiments, the magnet or magnetically attractable                arm band.
 Surface is slidable along the earphones or the headset cord.                  As shown within FIGS. 7A and 7B, the magnet 710 is
 However, as will be apparent to someone of ordinary skill in               configured to receive and releasably secure a set of earphones.
 the art, the magnet or magnetically attractable surface is able            In some embodiments, the magnet 710 removably couples
 to be fixedly connected to the earphones or the headset cord.         65   with the magnetically attractable parts of the earphones. In
 In some embodiments, the earphones holder 600 comprises                    Some embodiments, the earphones also comprises a magnet
 one or more additional magnets. In some embodiments, a user                or magnetically attractable Surface, which removably couples
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 with the magnet 710. In these embodiments, the magnet or                 pressing, adhesive attachment, or chemical method. In some
 magnetically attractable Surface is able to be a component of            embodiments, the body 901 comprises an additional surface
 the earphones or the headset cord. In some embodiments, the              915 which attaches to the additional article.
 magnet or magnetically attractable Surface is slidable along                The magnet 910 is configured to receive and releasably
 the the earphones or the headset cord. However, as will be               secure a set of earphones. In some embodiments, the magnet
 apparent to someone of ordinary skill in the art, the magnet or          910 removably couples with the magnetically attractable
 magnetically attractable surface is able to be fixedly con               parts of the earphones. In some embodiments, the earphones
 nected to the earphones or the headset cord. In some embodi              also comprises a magnet or magnetically attractable Surface,
 ments, the earphones holder 700 comprises one or more addi               which removably couples with the magnet 910. In these
 tional magnets. In some embodiments, a user is able                 10
                                                                          embodiments, the magnet or magnetically attractable Surface
 removably couple each side of the headset cord or the ear                is able to be a component of the earphones or the headset cord.
 phones with a corresponding magnet. Alternatively, in some
 embodiments, a user is able to couple both sides of the head             In some embodiments, the magnet or magnetically attractable
 set cord or earphones with only one of the magnets.                      Surface is slidable along the earphones or the headset cord.
    FIGS. 8A and 8B illustrate an earphones holder 800 in            15   However, as will be apparent to someone of ordinary skill in
  accordance with some embodiments. The headset cord holder               the art, the magnet or magnetically attractable surface is able
 800 comprises a body 815 having a magnet 810 molded or                   to be fixedly connected to the earphones or the headset cord.
 built into the body which is a portion of a piece of jewelry 870.        In some embodiments, the earphones holder 900 comprises
     In some embodiments, the portion of jewelry is configured            one or more additional magnets. In some embodiments, a user
 to be coupled to at least an additional article. For example, as         is able to removably couple each side of the headset cord or
 shown in FIGS. 8A and 8B, the body 815 comprises a bead of               the earphones with a corresponding magnet. Alternatively, in
 jewelry 860 in a strand of beads comprising a necklace 870. In           some embodiments, a user is able to couple both sides of the
 Some embodiments, the piece of jewelry is one or more of a               headset cord or earphones with only one of the magnets.
 broach, earrings, bracelet or Sunglass lanyard. However, the                As described above, the body 901 comprises a portion of an
 body is able to be molded or built into any piece of jewelry as     25   identifying surface 960 and is configured to be coupled to an
 known in the art. Alternatively, in Some embodiments one or              additional article. Particularly, the identifying surface is able
 more additional magnets are able to be molded into the body              to be coupled to an appropriate article as known in the art. For
 or other portion of the piece of jewelry.                                example, in some embodiments the identifying surface 960 is
     As shown within FIGS. 8A and 8B, the magnet 810 is                   coupled to a bag oran item of clothing. Alternatively, in some
 configured to receive and releasably secure a set of earphones.     30   embodiments, the identifying surface 960 is coupled to an
 In some embodiments, the magnet 810 removably couples                    accessory item Such as a key chain or armband. In some
 with the magnetically attractable parts of the earphones. In             embodiments one or more additional magnets is able to be
 Some embodiments, the earphones also comprises a magnet                  molded into the body 901 or other portion of the identifying
 or magnetically attractable Surface, which removably couples             Surface 960.
 with the magnet 810. In these embodiments, the magnet or            35      As further shown in FIG. 9, a groove 920 is molded or
 magnetically attractable Surface is able to be a component of            otherwise built into the body 901. The groove 920 is config
 the earphones or the headset cord. In some embodiments, the              ured to receive and releasably secure a headset cord. In some
 magnet or magnetically attractable Surface is slidable along             embodiments, the groove 920 is defined by a groove wall 930
 the earphones or the headset cord. However, as will be appar             that surrounds most of the groove 920, leaving only an entry
 ent to someone of ordinary skill in the art, the magnet or          40   space 935 through which the cord can access the groove 920.
 magnetically attractable surface is able to be fixedly con               In some embodiments, the entry space 935 has a smaller
 nected to the earphones or the headset cord. In some embodi              diameter than the groove 920 and the cord, thereby securing
 ments, the earphones holder 800 comprises one or more addi               the cord within the confines of the groove wall 930 and
 tional magnets. In some embodiments, a user is able to                   requiring a significant amount of force for its removal. In
 removably couple each side of the headset cord or the ear           45   some embodiments, portions of the groove wall 930 are flex
 phones with a corresponding magnet. Alternatively, in some               ible so that as the cord is pushed through the entry space 935,
 embodiments, a user is able to couple both sides of the head             the cord is able to force the groove wall 930 out of its way and
 set cord or earphones with only one of the magnets.                      temporarily increase the diameter of the entry space 935 so
     As described above, in FIGS. 8A and 8B, the body 815                 that the cord can pass through the entry space 930 into the
 comprises a bead of jewelry 860 in a strand of beads com            50   groove 920. In some embodiments, the groove wall 930 is
 prising a necklace 870. In some embodiments, the piece of                substantially rigid, thereby forcing the outer sleeve of the cord
 jewelry is one or more of a broach, earrings, bracelet or                to constrict as it passes through the entry space 935 between
 sunglass lanyard. However, the body is able to be molded or              the ends of the groove wall 930.
 built into any piece of jewelry as known in the art. Alterna                By incorporating a magnet and a groove into the Surface of
 tively, in some embodiments one or more additional magnets          55   the body 901 a user is able to releasably secure a headset cord
 is able to be molded into the body or other portion of the piece         in the groove 920 while utilizing the earphones and then
 of jewelry.                                                              magnetically secure the earphones to the body 901 when not
     FIG. 9 illustrates an embodiment of an earphones holder              1.   SC.
 having a magnet built into an identifying Surface in accor                 FIG.10A illustrates an embodiment of an earphones holder
  dance with Some embodiments.                                       60   having a magnet and a groove built into a Zipper puller in
     The earphones holder 900 comprises a body 901 having a               accordance with some embodiments.
  magnet 910 molded or built into the body 901 which is a                   As shown in FIG. 10A, the body 1001 is coupled to the
  portion of an identifying surface 960. The body 901 is con              Zipper head 1050. The earphones holder 1000 comprises a
  figured to be coupled to at least an additional article. In some        puller 1040 which is coupled to the body 1001. In some
  embodiments, the body 901 comprises one or more of rubber,         65   embodiments, the puller 1040 is a cord which passes through
  plastic and metal. The body 901 is configured to attach to an           the center of the body 1001. In some embodiments, the puller
  additional article by one or more of Stitching, riveting, heat          1040 is a cord which couples the body 1001 with an opening
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 1080. In some embodiments, the body 1001 comprises one or             appropriate mechanism as known in the art. Additionally,
 more of wood, glass, and metal.                                       although the magnetically attractable surface 1085 is shown
    The body 1001 comprises a magnet 1010. In some embodi              with a circular body, the magnetically attractable surface is
 ments, the magnet 1010 is embedded within the body 1001. In           able to comprise any appropriate shape for coupling with the
 other embodiments, the magnet 1010 is a distinct component            earphones 1075.
 that is attached to the body 1001. As shown within FIG. 10A,             In some embodiments, a user is able to place the headset
 the magnet 1010 is molded or otherwise built into the body            cord 1065 within the groove 1020 and then removably couple
 1001. The magnet 1010 is configured to receive and releas             the magnet or magnetically attractable surface 1085 of the
 ably secure a set of earphones 1075. In some embodiments,             earphones 1075 with the magnet 1010.
 the magnet 1010 removably couples with the magnetically          10
                                                                          In some embodiments, a shape of the one or more magnets
 attractable parts of the earphones 1075. In some embodi               as described above is selected from a set comprising a strip, a
 ments, as shown in FIG. 10A, the earphones 1075 comprise a            ball bearing and a disc. In further embodiments, at least one of
 magnet or magnetically attractable surface 1085 coupled to            the one or more magnets comprise one or more of a neody
 the earphones, which affixes the earbud to the magnet 1010
 built into or embedded within the body 1001. In these            15   mium magnet and a ceramic magnet.
 embodiments, the magnet or magnetically attractable Surface              In operation, a user places a headset cord within the con
 1085 is able to be a component of the earphones 1075 or the           fines of the groove wall while using the headset to listen to an
 headset cord 1065. In some embodiments, the magnet or                 electronic device. This enables a user to comfortably utilize
 magnetically attractable surface 1085 snaps or removably              the headset without becoming entangled within the cord.
 couples around the earphones 1075. In some embodiments,               Then, when not listening to the electronic device, a user
 the magnet or magnetically attractable surface 1085 is slid           places a set of earphones near to the magnet in order to allow
 able along the earphones 1075 or the headset cord 1065. As            the earphones to magnetically attract to and be held by the
 will be apparent to someone of ordinary skill in the art, the         magnet. This enables the user to place the earphones in a
 magnet or magnetically attractable surface 1085 is able to be         convenient location when using the earphones and also when
 fixedly or removably connected to the earphones 1075 or the      25   not in use. By doing so, a user is able to safely secure the
  headset cord 1065.                                                   earphones rather than letting them dangle where they may
    As also shown in FIG. 10A, a groove 1020 is molded or              become entangled or Snagged by the user. Consequently, the
 otherwise built into the body 1001. The groove 1020 is con            earphones holder has the advantage of providing an inexpen
 figured to receive and releasably secure the headset cord             sive and easy way to hold a headset cord in a comfortable and
 1065. In some embodiments, the groove 1020 is defined by a       30
                                                                       convenient position while utilizing an electronic device.
 groove wall 1030 that surrounds most of the groove 1020,              Accordingly, the headset cord holder described herein has
 leaving only an entry space through which the cord 1065 can           numerous advantages.
 access the groove 1020. In some embodiments, the entry                   Referring now to FIG. 11, an embodiment of a magnetic
 space has a smaller diameter than the groove 1020 and the             earphones and cord holding system is depicted therein. The
 cord 1065, thereby securing the cord within the confines of      35
                                                                       magnetic earphones and cord holding system 1100 comprises
 the groove wall 1030 and requiring a significant amount of
 force for its removal. In some embodiments, portions of the           an earphones holder body 1101 and a set of earphones 1150.
 groove wall 1030 are flexible so that as the cord is pushed           The set of earphones 1150 transmits a signal from an elec
 through the entry space, the cord is able to force the groove         tronic device 1105 such as an iPod, iPhone, any other similar
 wall 1030 out of its way and temporarily increase the diam       40   cellular phone or smartphone, MP3 or music player, movie
 eter of the entry space so that the cord can pass through the         player, or other electronic device 1105. As will be apparent to
 entry space into the groove 1020. In some embodiments, the            someone of ordinary skill in the art, the set of earphones 1150
 groove wall 1030 is substantially rigid, thereby forcing the          is able to transmit a signal from any appropriate electronic
 outer sleeve of the cord to constrict as it passes through the        device 1105 as known in the art. For example, in some
 entry space between the ends of the groove wall 1030.            45   embodiments, the set of earphones 1150 transmits a signal
    FIG. 10B shows a close-up view of the magnetically                 from an electronic media player Such as an iPad, Smartphone,
  attractable surface 1085, in accordance with some embodi             tablet PC, Mp4 player, or DivX Media format player.
  ments. The magnetically attractable surface 1085 removably              The earphones holder body 1101 comprises a groove 1120
  couples with the earphones 1075 or the headset cord 1065 in          for receiving and releasably securing a headset cord 1165,
  order to removably couple the earphones with the magnet         50   one or more magnetically attractable surfaces 1110 for
  1010 as described above. As shown within FIG. 10B, the               removably coupling with one or more magnets 1185 of the set
 magnetically attractable surface 1085 comprises a substan             of earphones 1150, and an electronic device controller 1140.
 tially circular body that fits around the earphones 1075. In          In some embodiments, the one or more magnetically
 Some embodiments, the magnetically attractable Surface                attractable surfaces 1110 are magnets. In some of these
 1085 is stretchable and stretches to fit over the earphones      55   embodiments, the magnets are neodymium magnets. In fur
 1075. In some embodiments, the magnetically attractable               ther embodiments, the earphones holder body 1101 com
 surface 1085 comprises a hinge or coupler 1087 which                  prises one or more recesses 1115 for holding an earbud 1175.
 enables the magnetically attractable surface 1085 to be               In some embodiments, the earbud 1175 is press fit into the one
 opened and coupled around the earphones 1075. In some                 or more recesses 1115. In some embodiments, the earphones
 embodiments, the magnetically attractable surface 1085 is        60   holder body 1101 comprises a body comprising a zipper
 able to be opened at coupler 1087 and then placed around the          puller, a Snap fastener, an adornment, a buckle attachment, or
 earphones 1075 and snap fit back into place. In some embodi           an item of jewelry and a magnet built into or embedded within
 ments, the magnetically attractable surface 1085 comprises            the body. Particularly, the earphones holder body 1101 is able
 two pieces which are separated in order to removably couple           to comprise a cord holder as described in U.S. patent appli
 the magnetically attractable surface 1085 with the earphones     65   cation Ser. No. 12/891,510, filed on Sep. 27, 2010 and/or a
 1075. Particularly, the magnetically attractable surface 1085         earphones holder as described in U.S. Provisional Patent
 is able to removably couple with the earphones 1075 by any            Application No. 61/601,722, filed on Feb. 22, 2012, which are
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 both hereby incorporated by reference. In some embodi                   For example, in some embodiments, upon receiving the sig
 ments, the set of earphones 1150 is a component of a hands              nal from the earbud engagement detector 1130, the controller
 free telephone adapter.                                                 1140 sends a signal to the electronic device activation circuit
     The groove 1120 is molded or otherwise built into the               1155 to adjust the volume of the signal from the electronic
 earphones body 1101. The groove 1120 is configured to                   device 1105. Additionally, in some embodiments, the control
 receive and releasably secure a headset cord 1165. In some              ler 1140 is able to send a signal to the electronic device
 embodiments, the groove 1120 is defined by a groove wall                activation circuit 1155 in order to pause the signal of an
 1122 that surrounds most of the groove 1120, leaving only an            application or a program being transmitted by the electronic
 entry space 1124 through which the cord 1165 can access the             device 1105. Particularly, the controller 1140 is able to send
 groove 1120. In some embodiments, the entry space 1135 has         10   any appropriate signal to the electronic device activation cir
 a smaller diameter than the groove 1120 and the cord 1165,              cuit 1155 in order to operate the electronic device 1105.
 thereby securing the cord 1165 within the confines of the                  The magnetic earphones and cord holding system 1100 is
 groove wall 1122 and requiring a significant amount of force            able to send a signal to activate and/or deactivate an electronic
 for its removal. In some embodiments, portions of the groove            device 1105 such as a cell phone. For example, if the user's
 wall 1122 are flexible so that as the cord 1165 is pushed          15   phone rings, the user is able to remove the set of earphones
 through the entry space 1124, the cord 1165 is able to force            1150 from the earphones holder body1101 and a signal is sent
 the groove wall 1122 out of its way and temporarily increase            to answer the phone and connect the call. Likewise, if the user
 the diameter of the entry space 1135 so that the cord 1165 can          is on a call and the set of earphones 1150 are coupled with the
 pass through the entry space 1124 into the groove 1120. In              earphones holder body 1101, a signal is sent to hang up the
 some embodiments, the groove wall 1122 is substantially                 phone and terminate the call. Similarly, the magnetic ear
 rigid, thereby forcing the outer sleeve of the cord 1165 to             phones and cord holding system 1100 is able to send a signal
 constrict as it passes through the entry space 1124 between             to start, resume, or stop an electronic device Such as an elec
 the ends of the groove wall 1122.                                       tronic media player or gaming device. For example, if a user
     By incorporating a magnet and a groove into the Surface of          needs to interrupt playing a video game, playing music, play
 the earphones holder body 1101, a user is able to releasably       25   ing a movie, or other media stream, the user is able to couple
 secure a headset cord 1165 in the groove 1120 while utilizing           the set of earphones 1150 with the holder body1101 in order
 the earphones 1150 and then magnetically secure the ear                 to pause the electronic device 1105. Then, when the user
 phones 1150 to the earphones holder body 1101 when not in               desires to resume using the electronic device 1105, the user is
 use. The one or more magnetically attractable surfaces 1110             able to decouple the earphones 1150 from the holder body and
 are able to be fixedly or removably connected to the ear           30   send a signal and unpause the electronic device 1105. In this
 phones holder body 1101.                                                manner, the user is able to use the magnetic earphones and
     As described above, the one or more magnetically                    cord holding system 1100 to operate, activate and/or deacti
 attractable surfaces 1110 are configured for removably cou              vate any programs or applications that are running on the
 pling with the one or more magnets 1185 of the earphones                electronic device 1105.
 1150. In some embodiments, when the one or more magnets            35     In some embodiments, the signal sent by the electronic
 1185 are removably coupled with the one or more magneti                 device controller 1140 to the electronic device activation
 cally attractable surfaces 1110, the body of the earbud 1175 is         circuit 1155 and the signal sent by the electronic device
 placed within the one or more recesses 1115. In some                    activation circuit 1155 to the electronic device 1105 comprise
 embodiments, the one or more recesses 1115 and the body of              one or more of infrared, infrared laser, radio frequency, wire
 the earbud 1175 comprise interlocking geometry. In these           40   less, WiFi, and Bluetooth R. However, the signal sent by the
 embodiments, the body of the earbud 1175 is press fit or snap           electronic device controller 1140 and the electronic device
 fit into the one or more recesses of the earphones holder body          activation circuit 1155 are able to comprise any wireless
  1101.                                                                  signal as known in the art. Alternatively, in some embodi
    The electronic device controller 1140 receives a signal              ments, the signal sent by the electronic device controller 1140
 from the earbud engagement detector 1130 and sends a signal        45   and the electronic device activation circuit 1155 comprise a
 to the electronic device activation circuit 1155 based upon the         wired signal.
 signal received from the earbud engagement detector 1130.                  FIGS. 12A and 12B illustrate a side view of a magnetic
 The electronic device activation circuit 1155 operates an elec          earphones and cord holding system formed in two parts. The
 tronic device 1105 based upon the signal received from the              magnetic earphones and cord holding system 1200 comprises
 controller 1140. In some embodiments, the earbud engage            50   a first body 1201 and a second body 1202. The first body 1201
 ment detector 1130 sends a signal to the controller 1140 that           is substantially similar to the earphones holder body 1101 as
 the one or more magnets 1185 and the earbud 1175 have been              discussed in relation to FIG. 11 and comprises a groove (not
 decoupled from the earphones holder body 1101. In these                 shown) for receiving and releasably securing a headset cord,
 embodiments, upon receiving the signal from the earbud                  one or more magnetically attractable surfaces 1110, an ear
 engagement detector 1130, the controller 1140 sends a signal       55   bud engagement detector (not shown), and an electronic
 to the electronic device activation circuit 1155 to activate the        device controller (not shown). As shown in FIGS. 12A and
  electronic device 1105. In some embodiments, the earbud                12B, the first body 1201 comprises a coupling mechanism
 engagement detector 1130 sends a signal to the controller               1203 and the second body 1202 comprises a coupling mecha
 1140 that the one or more magnets 1185 and the earbud 1175              nism 1205. The coupling mechanisms 1203 and 1205 enable
 have been coupled with the earphones holder body 1101. In          60   the first body 1210 and the second body 1202 to couple
 these embodiments, upon receiving the signal from the ear               together. In some embodiments, the coupling mechanisms
 bud engagement detector 1130, the controller 1140 sends a               1203 and 1205 comprises a snap, a button, or a hook and loop
 signal to the electronic device activation circuit 1155 to deac         fastening system. However, the coupling mechanisms 1203
 tivate the electronic device 1105.                                      and 1205 are able to comprise any appropriate coupling
    In further embodiments, the electronic device controller        65   mechanisms as known in the art. In some embodiments, the
  1140 sends a signal to electronic device activation circuit            second body 1202 comprises a button, a Snap, a Zipper, or an
  1155 to operate the electronic device 1105 in another manner.          adornment.
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    FIG. 13 illustrates a schematic view showing the compo                 more magnetically attractable surfaces 1510 of the earphones
  nents of a magnetic earphones and cord holding system in                 holder body 1501 when not in use. The one or more magneti
  accordance with some embodiments. As shown in FIG. 13,                   cally attractable surfaces 1510 are able to be fixedly or remov
 the magnetic earphones and cord holding system 1300 com                   ably connected to the earphones holder body 1501. In some
 prises an earbud engagement detector 1330, an electronic                  embodiments, the holder body 1501 further comprises one or
  device controller 1340, and an electronic device activation              more recesses for interlocking with the earbud 1575. In these
 circuit 1355. As described above, the earbud engagement                   embodiments, the body of the earbud 1575 is press fit or snap
 detector 1330 detects an engagement of the earbud 1175                    fit into the one or more recesses of the earphones holder body
 (FIG. 11) with the one or more magnets 1110. The earbud                   15O1.
 engagement detector 1330 sends a signal to the electronic            10
                                                                              As further shown in FIG. 15, the earphones holder body
 device controller 1340 based upon the engagement status of                1501 comprises an electronic device controller 1540 and an
 the earbud. The electronic device controller 1340 processes               earbud engagement detector 1530. The electronic device con
 the signal it receives from the earbud engagement detector                troller 1540 receives a signal from the earbud engagement
 1330 and sends a signal to the electronic device activation
 circuit 1355 which operates an electronic device in a manner         15   detector 1530 and sends a signal to the electronic device
 dependent upon the signal from the electronic device control              activation circuit 1555 based upon the signal received from
  ler 1340. In some embodiments, the electronic device con                 the earbud engagement detector 1530. The electronic device
 troller 1340 sends a signal to the electronic device activation           activation circuit 1555 operates an electronic device 1505
  circuit 1355 to activate the electronic device. In some                  based upon the signal received from the controller 1540. In
  embodiments, the electronic device controller 1340 sends a               some embodiments, the earbud engagement detector 1530
  signal to the electronic device activation circuit 1355 to deac          sends a signal to the controller 1540 that the one or more
 tivate the electronic device.                                             magnets 1585 and the earbud 1575 have been decoupled from
    FIG. 14 illustrates a method of operating a set of earphones           the earphones holder body 1501. In these embodiments, upon
  in accordance with some embodiments.                                     receiving the signal from the earbud engagement detector
    As shown in FIG. 14, at the step 1404 an engagement status        25   1530, the controller 1540 sends a signal to the electronic
  of an earbud is detected. In some embodiments, it is detected            device activation circuit 1555 to activate the electronic device
 whether or not the earbud is coupled with an earphones holder             15015. In some embodiments, the earbud engagement detec
 body. Then, based upon the engagement status of the earbud,               tor 1530 sends a signal to the controller 1540 that the one or
 at the step 1406, a signal is sent to operate the electronic              more magnets 1585 and the earbud 1575 have been coupled
 device. In some embodiments, the signal is one or more of an         30   with the earphones holder body 1501. In these embodiments,
 infrared, infrared laser, radio frequency, wireless, WiFi, and            upon receiving the signal from the earbud engagement detec
 Bluetooth R signal. In some embodiments, the signal is a                  tor 1530, the controller 1540 sends a signal to the electronic
 wired signal. In some embodiments, the signal is a signal to              device activation circuit 1555 to deactivate the electronic
 turn off or to turn on the electronic device.                             device 1505.
    FIG. 15 illustrates a magnetic earphones holding system in        35     As shown within FIG. 15, the earbud engagement detector
 accordance with further embodiments. The magnetic ear                     1530 and the electronic device controller 1540 are compo
 phones holding system 1500 comprises an earphones holder                  nents of the earphones holder body 1501. However, as will be
 body 1501 and a set of earphones 1550. The set of earphones               apparent to someone of ordinary skill the art, one or more of
 1550 transmits a signal from an electronic device 1505 such               the earbud engagement detector 1530 and the electronic
 as an iPod, iPhone, any other similar cellular phone or smart        40   device controller 1540 are able to be components of the set of
 phone, MP3 or music player, movie player, or other electronic             earphones 1550.
 device 1505. As will be apparent to someone of ordinary skill               As shown within FIG.16, in some embodiments, the one or
 in the art, the set of earphones 1550 is able to transmit a signal        more magnets 1685 comprise a magnetically attractable Sur
 from any appropriate electronic device 1505 as known in the               face that is a circular body that fits around the earphones 1650.
 art. For example, in Some embodiments, the set of earphones          45   In some embodiments, the one or more magnets 1685 remov
 1550 transmits a signal from an electronic media player such              ably couple with the earphones 1650. In some of these
 as an iPad, Smart phone, tablet PC, Mp4 player, or DivX                   embodiments, the magnetically attractable surface 1685 is
 Media format player.                                                      stretchable and stretches to fit over the earphones 1650. In
    The earphones holder body 1501 is in the shape of a zipper             Some embodiments, the magnetically attractable Surface
 puller and comprises one or more magnetically attractable            50   1685 comprises a hinge or coupler which enables the mag
 surfaces 1510 for removably coupling with one or more mag                 netically attractable surface 1685 to be opened and coupled
 nets 15815 of the set of earphones 1550, and an electronic                around the earphones 1650. In some embodiments, the mag
  device controller 1540. In some embodiments, the one or                  netically attractable surface 1685 is able to be opened at
 more magnetically attractable Surfaces 1510 are magnets. In               coupler and then placed around the earphones 1650 and snap
 Some of these embodiments, the magnets are neodymium                 55   fit back into place. In some embodiments, the magnetically
 magnets. In some embodiments, the holder body 1501 com                    attractable surface 1685 comprises two pieces which are
 prises a plurality of magnetically attractable surfaces 1510. In          separated in order to removably couple the magnetically
 some embodiments, the earphones holder body 1501 com                      attractable surface 1685 with the earphones 1650. Particu
 prises a body comprising a Snap fastener, an adornment, a                 larly, the magnetically attractable surface 1685 is able to
 buckle attachment, or an item of jewelry and a magnet built          60   removably couple with the earphones 1650 by any appropri
 into or embedded within the body. In some embodiments, the                ate mechanism as known in the art. Additionally, although the
 earphones holder body 1501 further comprises a groove as                  magnetically attractable surface 1685 is shown with a circular
  described in relation to FIG.1. In some embodiments, the set             body, the magnetically attractable Surface is able to comprise
  of earphones 1550 is a component of a hands free telephone               any appropriate shape for coupling with the earphones 1650.
  adapter.                                                            65   As further shown in FIG. 16, the earbud engagement detector
     Using the one or more magnet 1585 of the earphones 1550,              1630 and the electronic device controller 1640 are compo
  a user is able to couple the earphones 1550 with the one or              nents of the earphones 1650.
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    In further embodiments, the earbud engagement detector                 signal as known in the art. Alternatively, in some embodi
 1730 (FIG. 17) is a component of an earbud 1775 and sends a               ments, the signal sent by the electronic device controller 1740
 signal to a electronic device controller 1740 incorporated into           and the electronic device activation circuit 1755 comprise a
 a separate body 1701.                                                     wired signal.
    FIG. 17 illustrates a magnetic earphones holding system in                In further embodiments, the set of earphones 1750 com
 accordance with further embodiments. The magnetic ear                     prise wireless earphones. In these embodiments, the earbud
 phones holding system 1700 comprises an earphones holder                  engagement detector 1730 sends a wireless signal to the elec
 body 1701 and a set of earphones 1750. The set of earphones               tronic device controller 1740 based on the engagement status
 1750 transmits a signal from an electronic device 1705 such               of the earphones and the earphones 1750 receive a wireless
 as an iPod, iPhone, any other similar cellular phone or smart        10   content signal from the electronic device 1705.
 phone, MP3 or music player, movie player, or other electronic                FIG. 18 illustrates a magnetic earphones holding system in
 device 1705. As will be apparent to someone of ordinary skill             accordance with some embodiments. The system 1800 com
 in the art, the set of earphones 1750 is able to transmit a signal        prises a set of earphones comprising one or more magnets or
 from any appropriate electronic device 1705 as known in the               magnetically attractable surfaces 1885 built into the earbud
 art. For example, in Some embodiments, the set of earphones          15   1875 and one or more magnets or magnetically attractable
 1750 transmits a signal from an electronic media player such              Surfaces 1895 built into the earbud 1875'. As shown in FIG.
 as an iPad, Smart phone, tablet PC, Mp4 player, or DivX                   18, the earbud 1875 comprises an earbud engagement detec
 Media format player.                                                      tor 1830 and an electronic device controller 1840 built into the
    As described above, the earphones holder body 1701 is                  body of the earbud 1875. Although, the earbud engagement
 able to be in a shape of a Zipper puller, a Snap fastener, an             detector 1830 and an electronic device controller 1840 built
 adornment, a buckle attachment, or an item of jewelry and a               into a signal body of the earbud 1875, as will be apparent to
 magnet built into or embedded within the body and comprises               someone of ordinary skill in the art, the earbud engagement
 one or magnetically attractable surfaces 1710 and an elec                 detector 1830 and the electronic device controller 1840 are
 tronic device controller 1740. As shown in FIG. 17, the ear               able to be components of different earbuds.
 phones 1750 comprise one or more magnets 1785 and an                 25      The electronic device controller 1840 receives a signal
 earbud engagement detector 1730. In some embodiments, the                 from the earbud engagement detector 1830 based upon an
 electronic device controller 1740 and the earbud engagement               engagement of the earbud 1875 with the earbud 1875'. In
 detector 1730 are components of the earphone holder body                  some embodiments, the earbud engagement detector 1830
 1701. Alternatively, in some embodiments, the electronic                  sends a signal to the controller 1840 that the one or more
 device controller 1740 and the earbud engagement detector            30   magnets or magnetically attractable surfaces 1885 have been
 1730 are components of the set of earphones 1750.                         removed from the one or more magnets or magnetically
     Using the one or more magnet 1785 of the earphones 1750,              attractable surfaces 1895. In these embodiments, upon
 a user is able to couple the earphones 1750 with the one or               receiving the signal from the earbud engagement detector
 more magnetically attractable surfaces 1710 of the earphones              1830, the controller 1840 sends a signal to the electronic
 holder body 1701 when not in use. The one or more magneti            35   device activation circuit 1855 to activate the electronic device
 cally attractable surfaces 1710 are able to be fixedly or remov           1805. In some embodiments, the earbud engagement detector
 ably connected to the earphones holder body 1701. In some                 1830 sends a signal to the controller 540 that the earbud 1875
 embodiments, the holder body 1701 further comprises one or                has been coupled with the earbud 1875'. In these embodi
 more recesses for interlocking with the earbud 1775. In these             ments, upon receiving the signal from the earbud engagement
 embodiments, the body of the earbud 1775 is press fit or snap        40   detector 1830, the controller 1840 sends a signal to the elec
 fit into the one or more recesses of the earphones holder body            tronic device activation circuit 1855 to deactivate the elec
  1701.                                                                    tronic device 1805.
    The electronic device controller 1740 receives a signal                   In operation, the earphones holder enables a user to com
 from the earbud engagement detector 1730 and sends a signal               fortably utilize a headset without becoming entangled within
 to the electronic device activation circuit 1755 based upon the      45   the cord. In some embodiments, a user uses a groove and the
 signal received from the earbud engagement detector 1730.                 magnets of a cord holder body while using the headset to
 The electronic device activation circuit 1755 operates an elec            listen to an electronic device. A user places a set of earphones
 tronic device 1705 based upon the signal received from the                near to the magnet in order to allow the earphones to mag
 controller 1740. Particularly, the controller 1740 relays the             netically attract to and be held by the magnet. When the user
 signal from the earbud engagement detector 1730 to the elec          50   wishes to use the electronic device, the earphones are
 tronic device 1705. As described above, in some embodi                    removed from the magnet and a signal is transmitted in order
  ments the signal received from the controller 1740 is a signal           to active an electronic device Such as a music player or cell
 to activate and/or deactivate the electronic device 1705.                 phone. Then, when the user no longer wishes to use the
    In further embodiments, the earphones holder body 1701                 electronic device, the earphones are recoupled with the mag
  comprises an item that is placed on a counter top or other          55   net and the electronic device is deactivated. In this manner,
  similar item. In some embodiments, the electronic device                 the earphones are able to be removed from the earphones
 controller 1740, is able to send a signal to an activation circuit        holder body and an electronic device is automatically acti
 1755 of an electronic device 1705 that is removably coupled               vated in order to answer a telephone call. Then, when the
 with an external docking station.                                         telephone call is terminated, the user is able to recouple the
    In some embodiments, the signal sent by the electronic            60   earphones with the earphones holder body and automatically
  device controller 1740 to the electronic device activation               deactivate the device. Alternatively, the earphones are able to
  circuit 1755 and the signal sent by the electronic device                be removed from the earphones holder body and an electronic
  activation circuit 1755 to the electronic device 1705 comprise           device is automatically activated in order to listen to music
  one or more of infrared, infrared laser, radio frequency, wire           transmitted from a music player or cell phone and then
  less, WiFi, and Bluetooth R. However, the signal sent by the        65   recoupled with the earphones holder body in order to deacti
  electronic device controller 1740 and the electronic device              vate the device when the use of the earphones is no longer
  activation circuit 1755 are able to comprise any wireless                desired.
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    Referring now to FIGS. 19A-19E, an embodiment of a                   1905, as described above. Then, with the earphones in their
 magnetic earphones and cord holding system is depicted                  ears, a user is able to utilize the touch sensor 1903 in order to
 therein. The magnetic earphones and cord holding system                 operate the electronic device 1905. In some embodiments, the
 1900 comprises abody 1901 comprising a touch sensor 1903,               magnetic and cord holding system 1900 is used with a short
 an on/off button 1911, a microphone 1913, a speaker 1915,               cord set of earphones. Consequently, the set of earphones is
 and a charging port 1917. As shown in FIGS. 19A-19E, the                able to be used without becoming entangled in the clothing of
 body 1901 also comprises an electronic device controller                the user. Particularly, as shown in FIG. 20, because the power
  1940 and a touch sensor detector 1960. In some embodi                  input 1975 and the earphones 1950 are held closely together
 ments, the system comprises an earphones jack 1907 and one              when coupled with the body 1901, the cord 1965 of the
 or magnets or magnetically attractable surfaces 1920 and           10   earphones only needs to long enough to comfortably couple
 1920' and one or more earbud engagement detectors 1930 and              the earphones 1950 with the ears of a user and enable the user
 1930'. The one or magnets or magnetically attractable sur               to use the touch sensor 1903 and/or the microphone 1913 of
 faces 1920 and 1920' are configured to removably couple with            the body 1901 of the magnetic and cord holding system 1900.
 one or more magnets 1985 and 1985' of a set of earphones                   In further embodiments, the magnetic and cord holding
 1950. In further embodiments, the body 1901 comprises a            15   system 1900 is able to be used without the set of earphones
 groove and/or one or more recesses for securing the ear                 1950. For example, the touch sensor 1903 is able to be con
 phones 1950 and the cord 1965, as described above.                      tacted in order activate the electronic device 1905 and then a
    In some embodiments, the electronic device controller                user is able to utilize the touch sensor 1903 in order to operate
 1940 receives a signal from the earbud engagement detector              the electronic device 1905. In these embodiments, the touch
 1930 and sends a signal to the electronic device activation             sensor 1903 is able to be utilized in order to answer a tele
 circuit 1955 based upon the signal received from the earbud             phone call and communicate using the microphone 1913 and
 engagement detector 1930. The electronic device activation              the speaker 1915. Then, when the telephone call is termi
 circuit 1955 operates an electronic device 1905 based upon              nated, the user is able to utilize the touch sensor 1903 to
 the signal received from the controller 1940. In some embodi            terminate the call and deactivate the electronic device 1905.
 ments, the earbud engagement detector 1930 sends a signal to       25   Additionally, in some embodiments, the system 1900 and the
 the controller 1940 that the one or more magnets 1985 and the           touch sensor 1903 are used without audio in order to control
 earbud 1975 have been decoupled from the earphones holder               a program running on the electronic device 1905.
 body 1901. In these embodiments, upon receiving the signal                 The magnetic and cord holding system 1900 is able to be
 from the earbud engagement detector 1930, the controller                used with a variety of electronic devices and in a variety of
 1940 sends a signal to the electronic device activation circuit    30   settings. For example, in Some embodiments, the system
  1955 to activate the electronic device 1905. In some embodi            1900 is utilized with an electronic device that is coupled with
 ments, the earbud engagement detector 1930 sends a signal to            an external docking station. In further embodiments, the sys
 the controller 1940 that the one or more magnets 1985 and the           tem 1900 is able to be used as a controller for a game or
 earbud 1975 have been coupled with the earphones holder                 program located on the electronic device. In these embodi
 body 1901. In these embodiments, upon receiving the signal         35   ment the touch sensor 1903 is able to be utilized to send
 from the earbud engagement detector 1930, the controller                control messages to the electronic device in order to control
 1940 sends a signal to the electronic device activation circuit         the game or program. In further embodiments, the system
  1955 to deactivate the electronic device 1905.                         1900 is able to receive a signal from an electronic device. For
    In further embodiments, the touch sensor detector 1960               example, in some embodiments the system 1900 is able to
  receives a signal from the touch sensor 1903 based upon a         40   receive an audio signal from the electronic device through the
  contact with the touch sensor 1903 and sends a signal to the           speaker 1915. Further, in some embodiments, the speaker
  electronic device controller 1940, which sends a signal to the         1915 and the microphone 1913 are used to communicate
  electronic device activation circuit 1955. The electronic              voice controls to the electronic device 1905.
 device activation circuit 1955 operates an electronic device              In some embodiments, the signal sent by the electronic
 1905 based upon the signal received from the controller 1940.      45   device controller 1940 to the electronic device activation
 For example, in Some embodiments, the touch sensor detector             circuit 1955 and the signal sent by the electronic device
 1960 sends a signal to the electronic device controller 1940            activation circuit 1955 to the electronic device 1905 comprise
 that the touch sensor 1903 has been tapped, double-tapped,              one or more of infrared, infrared laser, radio frequency, wire
 and/or Swiped. In response, the electronic device controller            less, WiFi, and Bluetooth R. However, the signal sent by the
 1940 sends a signal to the electronic device activation circuit    50   electronic device controller 1940 and the electronic device
 1955 to operate the electronic device 1905. In some embodi              activation circuit 1955 are able to comprise any wireless
  ments, the electronic device controller 1940 is able to send a         signal as known in the art. Alternatively, in some embodi
 signal to activate/de-activate the electronic device, turn up or        ments, the signal sent by the electronic device controller 1940
 turn down the Volume, change the playing media, and/or                  and the electronic device activation circuit 1955 comprise a
 change the program being operated by the electronic device         55   wired signal.
 1905. Particularly, the electronic device controller 1940 is               FIG. 21 illustrates a block diagram showing the compo
 able to send any appropriate desired control signal to the              nents of the body 1901 of the system 1900. As described
 electronic device 1905. Additionally, the touch sensor 1903 is          above, the body 1901 comprises a touch sensor 1903, an
 able to be operated in any desired manner.                              on/off button 1905, a microphone 1913, a speaker 1915, and
    In some embodiments, the magnetic and cord holding sys          60   a charging port 1917. As shown in FIGS. 19A-19E, the body
 tem 1900 is used with the set of earphones 1950. In these               1901 also comprises an electronic device controller 1940 and
 embodiments, the power input 1995 is inserted into the ear              a touch sensor detector 1960. In some embodiments, the
 phones jack 1907 and the one or more magnets 1985 and                   system comprises an earphones jack 1907 and one or magnets
 1985" are removably coupled with the one or more magnets or             or magnetically attractable surfaces 1920 and 1920' and one
 magnetically attractable surfaces 1920 and 1920'. In some          65   or more earbud engagement detectors 1930 and 1930'. In
 embodiments, a user is able to remove the earphones 1950                some embodiments, the body 1901 comprises a printed cir
 and transmit a signal in order to activate the electronic device        cuit board 1923 and a battery 1925 for supplying power to the
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                               23                                                                     24
 system 1900. In some embodiments, the body 1901 further                 nal is one or more of an infrared, infrared laser, radio fre
 comprises an LED light 1919 for indicating that the body                quency, wireless, WiFi, and Bluetooth R signal. In some
 1901 is powered on. In some embodiments, the earphones                  embodiments, the signal is a wired signal. In some embodi
 jack 1907 is a 3.5 mm jack. However, as will apparent to                ments, the signal is a signal to activate/de-activate the elec
 someone of ordinary skill in the art, the earphones jack 1907           tronic device, turn up or turn down the Volume, change the
 is able to comprises any appropriately sized jack. In some              playing media, and/or change the program being operated by
 embodiments, the charging port 1917 is a USB port. How                  the electronic device.
 ever, the charging port 1917 is able to comprise any appro                 The magnetic earphones and cord holding system enables
 priately sized charging port.                                           a user to automatically activate and/or deactivate an elec
    FIG. 22 illustrates the magnetic and cord holding system        10   tronic device and place the earphones in a convenient location
 1900 removably coupled to a shirt collar in accordance with             when using the earphones and when not in use. Consequently,
 some embodiments. The body 1901 of the system 1900 has                  the earphones and cord holding system has the advantage of
 been coupled to the shirt 2200 by using the clip 1909, as               providing an inexpensive and easy way to hold a headset cord
 shown in FIGS. 19A and 19B. When using the clip 1909, a                 in a comfortable and convenient position while utilizing an
 user is able to secure the body 1901 in a convenient, desired      15   electronic device. Additionally, the earphones and cord hold
 location. As will be apparent to someone of ordinary skill in           ing system is able to conserve power by ensuring that the
 the art, the body 1901 is able to be secured in any appropriate         electronic device is only activated when needed. Accordingly,
 manner as known in the art. For example, in Some embodi                 the magnetic earphones and cord holding system described
 ments, the body 1901 is coupled with a lanyard which is                 herein has numerous advantages.
 placed around a neck of a user in order to place the body 1901             The presently claimed invention has been described in
  in a convenient location.                                              terms of specific embodiments incorporating details to facili
    FIG. 23 illustrates a schematic view showing the compo               tate the understanding of the principles of construction and
  nents of a magnetic earphones and cord holding system in               operation of the invention. As such, references herein to spe
  accordance with some embodiments. As shown in FIG. 23,                 cific embodiments and details thereofare not intended to limit
 the magnetic earphones and cord holding system 2300 com            25   the scope of the claims appended hereto. It will be apparent to
 prises an earbud engagement detector 2330, an electronic                those skilled in the art that modifications can be made to the
  device controller 2340, and an electronic device activation            embodiments chosen for illustration without departing from
  circuit 355. As described above, the earbud engagement                 the spirit and scope of the invention.
  detector 2330 detects an engagement of an earbud with the                What is claimed is:
  one or more magnets of the body as shown in FIGS. 19 A-19E.       30     1. A system for holding a set of earphones comprising:
  The earbud engagement detector 2330 sends a signal to the                a. a holder body comprising one or more magnets;
  electronic device controller 340 based upon the engagement               b. a set of earphones comprising a magnetically attractable
  status of the earbud. The electronic device controller 2340                 surface for removably coupling with the one or more
  processes the signal it receives from the earbud engagement                 magnets; and
  detector 2330 and sends a signal to the electronic device         35     c. an electronic device controller coupled to receive an
  activation circuit 2355 which operates an electronic device in              activation signal when one or more of the set of ear
  a manner dependent upon the signal from the electronic                      phones are decoupled from one of the one or more mag
  device controller 2340. In some embodiments, the electronic                 nets, wherein the electronic device controller receives a
  device controller 2340 sends a signal to the electronic device              deactivation signal when one or more of the set of ear
  activation circuit 2355 to activate the electronic device. In     40        phones are coupled to one of the one or more magnets.
  some embodiments, the electronic device controller 2340                  2. The system of claim 1 wherein the holder body is a
  sends a signal to the electronic device activation circuit 2355        closure mechanism that releasably couples a first portion of
 to deactivate the electronic device.                                    an article to a second portion of the article.
    As further shown in FIG. 23, the magnetic earphones and                3. The system of claim 1 wherein the holder body is one or
  cord holding system 2300 comprises a touch sensor detector        45   more of Snaps, a button, a releasable clip, Zipper, and a hook
  2360. The touch sensor detector detects a contact of the touch         and loop fastening system.
 sensor 903 (FIG. 9A) and sends a signal to the electronic                 4. The system of claim 1 wherein the holder body is an
 device controller 2340 based upon the contact with the touch            accessory item comprising one or more of a necklace, a
 sensor 903. The electronic device controller 2340 processes             broach, a pair of earrings, a bracelet and a Sunglass lanyard.
 the signal it receives from the touch sensor detector 2360 and     50     5. The system of claim 1 wherein the magnetically
 sends a signal to the electronic device activation circuit 2355         attractable Surface is non-removable.
 to operate an electronic device in a manner based upon the                6. The system of claim 1 wherein the magnetically
 signal received from the electronic device controller 2340. In          attractable surface is removable.
  some embodiments, the electronic device controller 2340                   7. The system of claim 1 further comprising one or more
 sends a signal to the electronic device activation circuit 2355    55   additional magnets.
 to activate/de-activate the electronic device, turn up or turn             8. The system of claim 1 further comprising one or more
 down the Volume, change the playing media, and/or change                grooves for releasably holding a cord of the set of earphones.
 the program being operated by the electronic device.                       9. The system of claim 1 wherein the magnetically
    FIG. 24 illustrates a method of operating a magnetic ear             attractable surface is attached to the cord of the earphones.
 phones and cord holding system comprising a touch sensor in        60      10. An earphones holder comprising:
 accordance with some embodiments. In the step 2404, a con                  a. a holder body;
 tact of a touch sensor is detected. For example, in some                   b. one or more holder magnetically attractable Surfaces
 embodiments it is detected that the touch sensor is tapped,                   configured to magnetically couple to one or more ear
 double-tapped, Swiped in a sideways direction, and/or Swiped                  phone magnetically attractable Surfaces coupled to one
 in an up and down direction. Then, based upon the contact          65         or more earphones; and
 with the touch sensor, in the step 2406, a signal is sent to               c. an electronic device controller coupled to receive an
 operate the electronic device. In some embodiments, the sig                   activation signal when one or more of the earphone
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       magnetically attractable Surfaces are decoupled from               24. The earphones holder of claim 23 wherein the mecha
       one of the one or more holder magnetically attractable           nism is a clip.
       surfaces, wherein the electronic device controller                 25. The earphones holder of claim 22 wherein the ear
       receives a deactivation signal when one or more of the           phones holder body comprises a Zipperpuller, a Snap fastener,
       earphone magnetically attractable Surfaces are coupled      5    an adornment, a buckle attachment, or an item of jewelry.
       to one of the one or more holder magnetically attractable          26. The earphones holder of claim 22 wherein the holder
       Surfaces.                                                        body comprises one or more recesses for removably coupling
    11. The earphones holder of claim 10 wherein the holder             with a body of the earphones.
 body comprises a Zipperpuller, a Snap fastener, an adornment,     10
                                                                          27. The earphones holder of claim 22 further comprising a
 a buckle attachment, or an item of jewelry.                            groove for releasably receiving a cord of the set of head
    12. The earphones holder of claim 10 wherein the one or             phones.
 more magnetically attractable Surfaces comprise one or more              28. A system for holding a set of earphones comprising:
  magnets.                                                                a. an earphones holder body comprising:
   13. The earphones holder of claim 12 wherein the one or                   i. a groove for holding a headset cord;
 more magnetically attractable Surfaces are configured for                   ii. one or more magnetically attractable Surfaces;
 removably coupling with a metal part of an earbud.                          iii. an electronic device controller configured to activate
   14. The earphones holder of claim 10 wherein the one or                       and/or deactivate an electronic device by sending a
 more holder magnetically attractable surfaces are built into or                 signal to an electronic device activation circuit;
 embedded within the body.                                                   iv. an earbud engagement detector; and
   15. The earphones holder of claim 10 wherein the holder                b. a set of earphones comprising one or more magnets
 body comprises one or more grooves for releasably holding a                 coupled to the earphones;
 cord of a set of earphones.                                              wherein the electronic device controller sends a signal to
   16. A method of securing a set of earphones comprising:                   the electronic device activation circuit to activate the
   a. coupling a magnetically attractable Surface to a set of      25         electronic device when the earphones are decoupled
      earphones;                                                              from the one or more magnetically attractable surfaces
   b. coupling the magnetically attractable surface to a magnet               of the earphones holder body.
      coupled to an additional article in order to secure the              29. The system of claim 28 wherein the one or more mag
      earphones;                                                        netically attractable Surfaces comprise one or more magnets.
   c. sending an activation signal to an electronic device when    30
                                                                           30. A system for holding a set of earphones comprising:
      the magnetically attractable Surface is decoupled from               a. an earphones holder body comprising:
      the magnet; and                                                         i. a groove for holding a headset cord;
   d. sending a de-activation signal to an electronic device                  ii. one or more magnetically attractable Surfaces;
      when the magnetically attractable Surface is coupled to
      the magnet.                                                  35         iii. an electronic device controller configured to activate
    17. The method of claim 16 wherein the additional article                     and/or deactivate an electronic device by sending a
 comprises a Zipper puller, a Snap fastener, an adornment, a                      signal to an electronic device activation circuit;
 buckle attachment, or an item of jewelry.                                    iv. an earbud engagement detector; and
    18. The method of claim 16 wherein the additional article              b. a set of earphones comprising one or more magnets
 is an accessory item comprising one or more of a necklace, a      40         coupled to the earphones;
 broach, a pair of earrings, a bracelet and a Sunglass lanyard.            wherein the electronic device controller sends a signal to
    19. The method of claim 16 wherein the one or more                       the electronic device activation circuit to deactivate the
  magnetically attractable Surfaces comprises one or more                     electronic device when the earphones are coupled with
  magnets.                                                                    the one or more magnetically attractable surfaces of the
    20. The method of claim 16 wherein the one or more             45         earphones holder body.
  magnetically surfaces are built into or embedded within the              31. The system of claim 28 wherein the holder body further
  additional article.                                                   comprises a mechanism for attaching to an additional article.
     21. The method of claim 16 wherein the additional article             32. The system of claim 31 wherein the mechanism is a
  comprises one or more grooves for releasably holding a cord           clip.
  of a set of earphones.                                           50      33. The system of claim 28 wherein the holder body com
     22. An earphones holder comprising:                                prises a Zipper puller, a Snap fastener, an adornment, a buckle
     a. a holder body;                                                  attachment, or an item of jewelry.
    b. one or more magnetically attractable Surfaces attached to           34. The system of claim 28 wherein the holder body com
        the holder body,                                                prises an accessory item comprising one or more of a neck
     c. an earbud engagement detector, and                         55   lace, a broach, a pair of earrings, a bracelet and a Sunglass
     d. an electronic device controller for controlling an elec         lanyard.
        tronic device coupled to the earphones, wherein a mag              35. The system of claim 28 whereintheholder body further
        net of the earphones removably couples with the one or          comprises one or more recesses for removably coupling with
        more magnetically attractable Surfaces, further wherein         a body of the earphones.
        the electronic device controller sends an activation sig   60      36. A methodofoperating an electronic device comprising:
        nal to the electronic device when the earbud engagement            a. detecting an engagement status of a magnetic Surface of
        detector detects that the magnet of the earphones has                 an earbud with a magnetically attractable Surface of an
        been decoupled from the one or more magnetically                      earphones holder;
       attractable Surfaces.                                               b. Sending an activation signal to an electronic device when
    23. The earphones holder of claim 22 wherein the ear           65         the magnetic surface of the earbud is decoupled with the
  phones holder body comprises a mechanism for attaching the                  magnetically attractable surface of the earphones
  earphones holder to an additional article.                                 holder;
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    c. sending a deactivation signal to the electronic device                 coupling with one or more magnetically attractable sur
       when the magnetic surface of the earbud is coupled to                  faces coupled to a set of earphones:
       the magnetically attractable surface of the earphones               b. sending a signal to a touch sensor detector;
       holder; and                                                         c. sending a signal to an electronic device based upon the
    d. operating the electronic device based upon the engage- 5               signal sent to the touch sensor detector;
       ment status of the earbud.                                          d. Sending an activation signal to the electronic device
    37. A system for holding a set of earphones comprising:                   when one of the one or more magnetically attractable
    a. a holder body;                                                         Surfaces are decoupled from one of the one or more
    b. one or more magnetically attractable surfaces attached to              magnets; and
       the holder body for removably coupling with a magnetic 10           e. Sending a deactivation signal to the electronic device
       surface of a set of earphones:                                         when one of the one or more magnetically attractable
    c. a touch sensor;                                                        Surfaces are coupled to one of the one or more magnets.
    d. a touch sensor detector; and                                        50. The method of claim 49 wherein the touch sensor is
    e. an electronic device controller for controlling an elec           tapped, double-tapped, or swiped.
       tronic device by sending an activation signal when the       15
                                                                           51. The method of claim 49 wherein the touch sensor
       magnetic surface of the set of earphones is decoupled
       from the one or more magnetically attractable surfaces,           detector receives a signal from the touch sensor and sends a
       wherein the system wirelessly communicates with the               signal to an electronic device controller.
       electronic device.                                                  52. The method of claim 49 wherein the electronic device
    38. The system of claim 37 further comprising an earbud              is operated by touching the touch sensor.
 engagement detector.                                                       53. An earphones holder for communicating with an elec
    39. The system of claim37 wherein the touch sensor detec             tronic device comprising:
 tor receives a signal from the touch sensor and sends a signal             a. an earphones holder body comprising:
 to the electronic device controller.                                         i. a touch sensor; and
    40. The system of claim39 wherein the touch sensor detec- 25              ii. one or more holder magnetically attractable surfaces
 tor sends a signal to the electronic device controller that the                  for removably coupling with one or more earphone
 touch sensor has been tapped, double-tapped, or swiped.                          magnetically attractable surfaces coupled to a set of
    41. The system of claim 39 wherein the electronic device                      earphones,
                                                                           wherein the touch sensor controls an electronic device
 controller sends a signal to an electronic device to operate the             coupled to the earphones holder and further wherein an
 electronic device based upon the signal from the touch sensor      30
                                                                              activation signal is sent to the electronic device when
  detector.
    42. The system of claim 41 wherein the touch sensor detec                 one of the one or more earphone magnetically
 tor sends a signal to the electronic device to activate or deac              attractable surfaces are decoupled from one of the one or
 tivate the electronic device.                                                more holder magnetically attractable surfaces, wherein
    43. An earphones holder for communicating with an elec- 35                a deactivation signal is sent to the electronic device when
 tronic device comprising:                                                    one of the one or more earphone magnetically
    a. an earphones holder body comprising:                                   attractable surfaces are coupled to one of the one or more
       i. a touch sensor, and                                                 holder magnetically attractable surfaces.
       ii. one or more holder magnetically attractable surfaces            54. An earphones holder comprising:
           for removably coupling with one or more earphone         40     a. a holder body;
           magnetically attractable surfaces coupled to a set of           b. one or more magnets attached to the holder body;
           earphones,                                                      c. an earbud engagement detector; and
    wherein the touch sensor controls an electronic device                 d. an electronic device controller for controlling an elec
      coupled to the earphones holder and further wherein an                  tronic device coupled to the earphones, wherein a metal
      activation signal is sent to the electronic device when 45              portion of the earphones removably couples with the one
      one of the one or more earphone magnetically                            or more magnets, further wherein the electronic device
      attractable surfaces are decoupled from one of the one or               controller sends an activation signal to the electronic
      more holder magnetically attractable surfaces, wherein                  device when the earbud engagement detector detects
      the electronic device is wirelessly coupled to the ear                  that the metal portion of the earphones has been
      phones holder.                                            50            decoupled from the one or more magnets.
    44. The earphones holder of claim 43 wherein the set of                55. An earphones holder comprising:
  earphones is coupled to an earphones jack of the earphones               a. a holder body;
 holder.                                                                   b. one or more holder magnets or magnetically attractable
    45. The earphones holder of claim 43 further comprising an                surfaces coupled to the holder body; and
  earbud engagement detector.                                       55     c. an electronic device controller for sending an activation
    46. The earphones holder of claim 43 wherein the touch                    signal to an electronic device, wherein one or more
  sensor is tapped, double-tapped, or swiped in order to control              earphones magnets or magnetically attractable surfaces
 the electronic device.                                                       removably couple with the one or more holder magnets
    47. The earphones holder of claim 43 further comprising an                or magnetically attractable surfaces, further wherein the
  attachment mechanism for attaching to an additional article.      60        electronic device controller sends the activation signal to
    48. The earphones holder of claim 47 wherein the attach                   the electronic device when magnetic connection is bro
  ment mechanism is a clip.                                                   ken between the one or more earphones magnets or
    49. A method of operating an electronic device comprising:                magnetically attractable surfaces and the one or more
    a. touching a touch sensor located on an earphones holder                 holder magnets or magnetically attractable surfaces.
       body comprising one or more magnets for removably                                        :k   k   k   k   k
